       Case 8:08-cr-00031-JSM-TGW Document 79 Filed 08/26/08 Page 1 of 6 PageID 170
A 0 2493 (Rev 06/05) Sheet 1 - Judgment in a Ctiminrrl Case


                           UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                            TAMPA DMSION




UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                               CASE NUMBER: 8:OS-cr-3 1-T-3OTG W
                                                               USM NUMBER: 5005 1-0 18



STEVEN EARL FAL L
                                                               Defendant's Attorney: Adam Benjamin Allen: pds.

THE DEFENDANT:

-
X pleaded guilty to eoung) ONE of the Indicnnent.
-pleaded nolo contendem to count(s) wbich was accepted by the s oun
-was found guilty on coamt(s) aftet a plea of not guilty.


                                                                               OFFENSE ENDED                     COUNT

                                   Conspiracy to Mmufacture50 or M m           January 10, 2 008                   One
                                   Marijuana Ptam


       T'hedthdztnt issenhmdasprovided in pages2 through6 ofthisjudwent. The sentence 1s i r n p o ~ c dpurhuarir 10 h c Sentrnc~ng
Reform Act of 1984,

-Tbe defendant has been fouad not guilty on count(s)
X Couat(s) TWO of the Indictment is dismissad on the motion of the United States.
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district witbin 30 days of any change of
name, rddence, or mailmg address until all fines, restitution, costs, and special assessments imposed by rhisjudgment are fuUy paid
                                  , &fendam must notify the court and United States Attorney of any material change in economic
If ordered to pay w t i t u t i ~ the
cwtances.


                                                                                Date o f Impoition o r Sentence: August 26, ZOOS




                                                                                DATE: August     a6 ,,,,.
       Case 8:08-cr-00031-JSM-TGW Document 79 Filed 08/26/08 Page 2 of 6 PageID 171
                              -
A 0 2458 (Rev 06/05) Sheer 2 Imprisonment (Judgment in a Criminal Case)
Defendant:         !3TEVEN EARL FALL                                                                           Judgment - Page 2 of 6
Case No.:          8:08<r-3 1-T3MGW

                                                              IMPRISONMENT

        A f t e r considering the advisory sentencing guidelines and all of the fnctors identified in Titlc 18 U.S.C. $8
3553(a)(l)-(7),the court finds that the sentence imposed is sufficient, but not grenter Illan necessary, Co comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total tcrm of THREE (3) MONTHS as to Count One of the Indictment, said term to r u n consecutive to tbe
defen da o t's u ndisc harged term of imprisonment imposed in Polk County, Florida, case n u rn ber CFO6-0044lI-XY.




-The court makes the following recommendations to the Burmu of Prisons:



X T h e defendant is remanded to he custody ofthe United States Marshal.
- The defendantshall m d e r ro the U n i d Stah Marshal for this district.



-The   defendant shall sufiwrder for d c e of sentence at the institution designated by the R urcau u t Prl son\

         -b&re 2 p.m. o n .
         -as riotifid by the UnitedStates Mmhal.
         - a~ notified @ the Probation or Prebid !&dctzi M c e .




          I have executed this judgment as follows:




          Defendant delivered on                                           to
- aI                                                                 . with a certified copy of this judgment.


                                                                                 United States Marshal

                                                                       By:
                                                                                           Deputy Uni~edStates Marshal
       Case 8:08-cr-00031-JSM-TGW Document 79 Filed 08/26/08 Page 3 of 6 PageID 172
A 0 2458 (Rev. 06/05) Sheer 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:             STEVEN EARL FALL                                                                                                                         Judgment - Page 3 of
Case No.;              8:08-cr-3 I-T30TGW
                                                                                SUPERVISED RELEASE

        Upon releuse irom imprisonrncnt, the defendant shall be on supcrvised r e l e a s e for a fcrm of a 'I'HliEE(3) YEAR term as
to Count One of I h e Indictment.




                                                           ,4 I'.\SI-).-\RD C'OSDITZONS OF SUPERVlSION




           :I,'. <..!-
                  i.;~lr!.!l~i rli 1 1 1 I I I ~ : I I > : i . ~I. V ~ I ~ . ~                I ~!c,.l-t LC: ,i;i: p r i li : L ' .:n\ i j l . ! ! . ~ c ' in rcsidcncc or c~nployrncnt;
                                                                                          L ,.!I
                                                                             I ~I: I: ~~~ ~
     Case 8:08-cr-00031-JSM-TGW Document 79 Filed 08/26/08 Page 4 of 6 PageID 173
A 0 245B (Rev. 06/05)Sheet 3C - Supervised Releasc (Judgment in a Criminal Case)

Defendant:        STEVEN EARL FALL                                                           Judgment - Page 4of 6
Case No.:         8:08-cr-3 1-T-30TGW

                                        SPECIAL CONDITIONS OF SUPERVlSION

         The defendant shall also comply with the following additional conditions of supervised release:
         Defendant shall participate in a Community Confinement Program for a period of SIX MONTHS . The defendant will abide
         by the rules,requirements, and conditions of the treatment program. Further, the defendant shall conmiute to the costs, if any,
         of these servicesnot to exceed an amount determined reasonable by the Probation Office's Sliding Scale for Treatment S e ~ c e s .
         The defendant shall pmclpate in a substance abuse program (outpatient andlor inpatient) and follow the probation officer's
         instructions regarding the implementation of this court directive. Further. the defendant shall be required to contribute to the
         costs of services for such treatment not to exceed an amount determined reasonable by the Probation Officer's Sliding Scale for
         Substance Abuse Treatment Services. M g and upon completion of this program, the defendant is directed to submit to
         random drug testing.
         The defendant shall perform 100hours of community serviceduring each year ofhis supervised release, for a total of 300 hours,
         and as directed by the probation officer. This community service may not be substituted on an hourly basis for g a W
         employment.
         The defendant shall cooperate in the collection of DNA as directed by the probation officer.
X
-        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court orders random drug
         testing not to exceed 104 tests per year.
      Case 8:08-cr-00031-JSM-TGW Document 79 Filed 08/26/08 Page 5 of 6 PageID 174
 A 0 245B (Rev 06105) Shcet 5   - Criminal Monetary Penalties (Judgment in a Criminal Case)
 Defendant:           STEVEN EARL FALL
 Case No.:            8:08-cr-31 -T-30TGW

                                             CRIMINAL MONETARY PENALTI ES

          The derentlant must pay the toial criminal monetary penalties under the schcdule of payments on Sheel 6
                              Assessment                            -
                                                                    Fine                      Topal Restitution

          'Totals:                                                  Waived


          The determination of restitution is deferred until .                An Amended J~~clgrrta~           1 Case ( A 0 2432) will
                                                                                                 l in a C~-rt?i~cr
          be entered after such determination.
          The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant m  e
                              es a partid payment, each payee shall receive an approximately proportioned payment, unless
          specified otherwise m the priority order or percentage pa ent column below. However, pursuant to 18 U.S.C.!
          3664(i), all non-federal victims must be p a d before the X t e d States.


 Name of P a v e                                 Total Loss*                  Restitution Ordered




          Restitution amount ordered pursuant to plea agreement 5
          The defendant must ay mterest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in f
                                                                                                                                U
                                fa
          before the fifteenth y after the date of the judgment, pursuant to 18 U.S.C. Ej 3612( . AU of the payment options on Sheet
                                                                                                 ?
          6 m a y be subject to penalties for delinquency and default, pursuant to 18 U.S.C. fj 36 2(g).
          The court determined that the defendant does not have the abiiity to pay interest and it is ordered that:
                     the interest requirement is waived for the - h e       - restitution.
                     the interest requirement for the - fine - restitution is modified as fol lows:


* Findings for the total amountof losses are required under Chapters 1094 1 10-11OA, and 1 13A of Title 18 for the offensescommitted
on or after September 13,1994,but before Apnl23, 1996.
       Case 8:08-cr-00031-JSM-TGW Document 79 Filed 08/26/08 Page 6 of 6 PageID 175
                            -
A 0 2458 (Rev 06/05) Sheet 6 Schedule of Payments (Judgment in a Criminal Case)

Defendant:
Case No.:
                  STEVEN EARL FALL                                                                     -
                                                                                            Judgment Page 6of 6



                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total crirnina I inonelary penalties are due as ~ollows:

                  Lump sum payment of $ 100.00 due immediately, balance due
                            -not later than                  Or

                            -in accordance -C, - D, - E or -F below; or
                   Payment to begin immediately (maybe combined with -C, -D, or -F below); or
                  Payment in equal                  (e-g.,weekly, monthly, quarterly) installments of $                     over a period
                  of         (e.g., months or years), to commence            days (e.g., 30 or 60 days-aftere                date of this
                  judgment; or
         -         Payment in equal             (e.g., weekly, monthly, quarterly) installments of $         over a period of
                                (e.g., months or years) to commence                     (e.g. 30 or 60days)fier release from
                   imprisonmeit to a term of supervision; or
                   Payment during the term of supenised release will commence within                                (e-g.. 30 or 60 days)
                   after release from imprisonment. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
         -         Special instructions regarding the payment of criminal monetary pula l lies:


Unless the court has expressly ordered otherwise, if this judgment @poses imprisonment, payment of cnrmnal monetary
                                e
 endties is due during m risonment. All criminal monetary penaltres, except those ayments made through the Federal
6-u    of Prisons' Inmate inancia1 Responsibility Pro-        are made to the clerk of e court.  t~
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant nu 111ber), Tora I Amount , Jomt and
Several Amount, and corresponding payee, if appropriate:


         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court cost@):
         The defendant shaIl forfeit the defendant's interest in the following property to the United States:
        The Court ordm that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees.
Payments dull be applied in the following order (1) BSSeSmnent, (2) restitution principal, (3) restitution interest,(4)fine principal, ( 5 )
fine mteresr. (6)community restitution, (7) p d t i e s , and (8) costs. includmg cost of prosecul on a n d courl costs
